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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION



THOMAS REED,                                 )
                                             )
                      Plaintiff,             )
                                             )       4:09-cv-00944      SWW
       v.                                    )
                                             )
FIRST CREDIT SERVICES, INC.,                 )
                                             )
                      Defendant.             )

                 ORDER OF DISMISSAL PURSUANT TO SETTLEMENT

       Pursuant to settlement, this case is dismissed with prejudice and without costs to any party,

all costs having been paid and all matters in controversy for which this action was brought having

been fully settled, compromised and adjourned.

       IT IS SO ORDERED this 31st day of March 2010.



                                                     /s/Susan Webber Wright
                                                     United States District Judge
